                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA

                              MISCELLANEOUS NO. 3:07-MC-47
                                      (Doc. No. 3)


 IN RE:                                            )
                                                   )
 STANDING PROTECTIVE ORDER                         )
 FOR CIVIL CASES BEFORE THE                        )
 HONORABLE FRANK D. WHITNEY                        )
                                                   )

       It is hereby ORDERED by the Court that the following restrictions and procedures shall

apply to certain information, documents and excerpts from documents supplied by the parties to each

other in response to discovery requests:

       1.       Counsel for any party may designate any document or information contained in a

document as confidential if counsel determines, in good faith, that such designation is necessary to

protect the interests of the client. Information and documents designated by a party as confidential

will be labeled “CONFIDENTIAL – PRODUCED PURSUANT TO PROTECTIVE ORDER.”

“Confidential” information or documents may be referred to collectively as “confidential

information.”

       2.       Unless otherwise ordered by the Court, or otherwise provided for herein, the

confidential information disclosed will be held and used by the person receiving such information

solely for use in connection with the above-captioned action.

       3.       In the event a party challenges another party’s confidential designation, counsel shall

make a good faith effort to resolve the dispute, and in the absence of a resolution, the challenging

party may thereafter seek resolution by the Court. Nothing in this Protective Order constitutes an

admission by any party that confidential information disclosed in this case is relevant or admissible.



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Each party specifically reserves the right to object to the use or admissibility of all confidential

information disclosed, in accordance with applicable law.

         4.       Information or documents designated as “Confidential” shall not be disclosed to any

person, except:

                  a.     The requesting party and counsel;

                  b.     Employees of such counsel assigned to and necessary to assist in the

                         litigation;

                  c.     Consultants or experts to the extent deemed necessary by counsel;

                  d.     Any person from whom testimony is taken or is to be taken, except that such

                         a person may only be shown confidential information during and in

                         preparation for his/her testimony and may not retain the confidential

                         information; and

                  e.     The Court or the jury at trial or as exhibits to motions.

         5.       Prior to disclosing or displaying the confidential information to any person, counsel

shall:

                  a.     Inform the person of the confidential nature of the information or documents;

                         and

                  b.     Inform the person that this Court has enjoined the use of the information or

                         documents by him/her for any purpose other than this litigation and has

                         enjoined the disclosure of that information or documents to any other person.

         6.       The confidential information may be displayed to and discussed with the persons

identified in Paragraph 4(c) and (d) only on the condition that prior to any such display or discussion,


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each such person shall be asked to sign an agreement to be bound by this Order in the form attached

as Exhibit A. In the event such person refuses to sign an agreement in the form attached as Exhibit

A, the party desiring to disclose the confidential information may seek appropriate relief from this

Court.

         7.       For the purpose of Paragraphs 4(d) and (e) it is understood by the parties that any

documents which become part of an official judicial proceeding or which are filed with the Court

are public documents, and that such documents can and will be sealed by the Court only upon motion

and in accordance with applicable law. This Protective Order does not provide for the automatic

sealing of such documents.

         8.       At the conclusion of litigation, the confidential information and any copies thereof

shall be promptly (and in no event later than thirty (30) days after entry of a final judgment no longer

subject to further appeal) returned to the producing party or certified as destroyed.

         9.       The foregoing is entirely without prejudice to the right of any party to apply to the

Court for any further Protective Order relating to confidential information; or to object to the

production of documents or information; or to apply to the Court for an order compelling production

of documents or information; or for modification of this Order.

         IT IS SO ORDERED.


                                                    Signed: May 14, 2007




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